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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                               COLORADO
                          Judge William J. Martinez


   Criminal Case No. 16-cr-00129-WJM

   UNITED STATES OF AMERICA,
   Plaintiff,

   v.

   VINCENT MATHEWS
   Defendant
   ________________________________________________________________

         DEFENDANT MATHEWS’ REPLY TO RESPONSE REGARDING
   DEFENDANT'S MOTION TO EXCLUDE EXPERT TESTIMONY ET SEQ. [DOC.
                                  40]
   ________________________________________________________________

          Defendant Mathews, by and through undersigned counsel, Mark C.

   Johnson, in reply to the Government's Response as to his Motion to Exclude,

   states as follows:

                            SUMMARY OF ARGUMENT

   IN RESPONSE TO THE DEFENSE MOTION THAT SET OUT WITH

   SPECIFICITY FACTUAL ISSUES RAISED BY THE GPS DATA, THE

   GOVERNMENT FILED A RESPONSE THAT IGNORED THE QUESTION OF

   THE METHODOLOGY AND THAT FAILED TO SET OUT THE BASES OF THE

   EXPERT'S OPINIONS.

   1.     The Defense asserts that the Government has ignored the ongoing

   requests by the Defense that the Government explain the specific

   inconsistencies between the longitude/latitude coordinates and the apparent

   conflicts between that data and evidence in the case. The undersigned set out
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   with particularity his communications with the Government expert and the

   requests made by the Defense. The Government's response is inadequate

   because, while it establishes Mr. Buck's credentials, it fails to set out the bases of

   the opinions that would allow the Defense to challenge the expert's opinion in the

   instant case.

   2.     Rule 16(a)(1)(G) requires that, at the defendant's request, the government

   “must give to the defendant a written summary of any testimony that the

   government intends to use under Rules 702, 703, or 705 of the Federal Rules of

   Evidence during its case-in-chief at trial.” Fed.R.Crim.P. 16(a)(1)(G). The rule

   also stipulates the content of such a written summary: it must include the expert's

   qualifications, describe her opinions, and state the “the bases and reasons for

   those opinions.” Id.

   3.     The degree of disclosure required by the case law interpreting Rule 16 is

   linked to the complexity of the opinion. The Court in United States v. Goxcon-

   Chagal, 886 F. Supp. 2d 1222, 1253–54 (D.N.M. 2012), aff'd sub nom. United

   States v. Medina-Copete, 757 F.3d 1092 (10th Cir. 2014) noted that complex

   analysis justified a higher degree of expert disclosure:


          The summary provided under this subparagraph must describe the

          witness's opinions, the bases and reasons for those opinions, and the

          witness's qualifications. Fed.R.Crim.P. 16(a)(1)(G). As Professor James

          Moore has stated: “It is not clear how much detail must be provided to

          satisfy this provision.” 25 J. Moore, Moore's Federal Practice § 616.05[3],

          at 616–65 (3d ed. 2012). United States v. Jackson, 51 F.3d 646, 651 (7th
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          Cir.1995). The Seventh Circuit elaborated that in “cases involving

          technical or scientific evidence,” there may be a “greater disclosure”

          obligation, “including written and oral reports, tests, investigations, and

          any other information that may be recognized as a legitimate basis for an

          opinion under Fed.R.Evid. 703.” United States v. Jackson, 51 F.3d at 651

          (citing Fed.R.Crim.P. 16(a)(1)(E) advisory committee's note).

   Id. 1253–54.

   4.     The major policy underlying the Rule 16 disclosure is that the opposing

   party must have sufficient information to cross-examine the expert and prepare

   for trial. See United States v. Michel-Diaz, 205 F. Supp. 2d 1155, 1157 (D. Mont.

   2002).1 Additionally, the opponent needs to analyze under Rule 702(d) whether

   “the expert has reliably applied the principles and methods to the facts of this

   case.” United States v. Chapman, No. 15-2143, 2016 WL 6205744, at *4 (10th

   Cir. Oct. 24, 2016).

   5.     Reliability questions may concern the expert's data, method, or his

   application of the method to the data. See Mitchell v. Gencorp Inc., 165 F.3d 778,

   782 (10th Cir.1999); see also Fed.R.Evid. 702 (noting that the testimony must be

   “based upon sufficient facts or data” as well as “the product of reliable principles

   and methods” and the expert must have “applied the principles and methods

   reliably to the facts of the case”). The party offering the expert “must show that

   1
     The Government cited the Michel-Diaz case in United States v. Chapman, No.
   CR 14-1065 JB, 2015 WL 10401776, at *2 (D.N.M. Aug. 28, 2015). The
   Government argued that the Defendant's Rule 16 disclosure was inadequate and
   therefore the Government could not effectively cross- examine or prepare for
   trial.
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   the method employed by the expert ... is scientifically sound and that the opinion

   is based on facts which satisfy Rule 702's reliability requirements.” United States

   v. Nacchio, 555 F.3d 1234, 1241 (10th Cir. 2009)


   6.     The Court in Nacchio outlined the relationship between the Rule 16

   disclosures and Federal Rule of Evidence 702, noting that the opposing party

   was 'entitled to a summary of the expected testimony' and 'perhaps most

   important, the requesting party is to be provided with a summary of the bases of

   the expert's opinion.” Id. 1236–37 (10th Cir. 2009).2 The Nacchio Court reasoned

   that under Rule 702, the district court had to be satisfied that the expert

   testimony was both "reliable and relevant". The Court noted that a proffered

   expert had to demonstrate that her opinions were "reliable by assessing the

   underlying reasoning and methodology" as set forth in the Daubert opinion. Id.

   1241. Failure to make adequate disclosures justified suppression. The Nacchio

   Court reasoned:


          Reliability questions may concern the expert's data, method, or his

          application of the method to the data. See Mitchell v. Gencorp Inc., 165

          F.3d 778, 782 (10th Cir.1999); see also Fed.R.Evid. 702 (noting that the

          testimony must be “based upon sufficient facts or data” as well as “the

          product of reliable principles and methods” and the expert must have

          “applied the principles and methods reliably to the facts of the case”). The

   2
    The above cited Nacchio opinion made clear that the while the district court's
   comments arguably implicated the disclosure requirements of Rule 16, the case
   was analyzed and resolved under the tenants of FRE 702 and Daubert. See
   United States v. Nacchio, 555 F.3d 1234, 1246 (10th Cir. 2009).
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          party offering the expert “must show that the method employed by the

          expert ... is scientifically sound and that the opinion is based on facts

          which satisfy Rule 702's reliability requirements.” Dodge, 328 F.3d at

          1222.


   United States v. Nacchio, 555 F.3d 1241.


   7.     The Nacchio Court went on to note that an expert's opinion could be

   rendered inadmissible where an expert misapplied an otherwise "reliable

   methodology" or "merely misapplie[d] the methodology." Id. The Court also

   recognized the rule of law that expert testimony was properly excluded where the

   expert's "report...was insufficient to allow assessment of the reasoning and

   methodology of the expert as a component of the...application of Daubert.." citing

   United States v. Turner, 285 F.3d 909, 912-13 (10th Cir. 2002). Id.

   LEGAL ANALYSIS

   8.     The Defense seeks specific disclosures set out the initial motion for the

   following reason: (1) to prepare for trial on the merits (2) to raise a challenge to

   the proffered expert under 702 and Daubert3,

   9.     The Defense has sought the specifics of the expert's analysis to prepare

   for trial and to effectively cross-examine the expert's conclusions. It is clear that

   3
     The 10th Circuit noted in United States v. Nacchio, 555 F.3d 1234, 1246 (10th
   Cir. 2009) that the objecting party bore the burden of lodging a "timely request" to
   the proffered expert testimony to set in motion a Daubert inquiry. The Court
   noted, cited to Macsenti v. Becker, 237 F.3d 1223, 1231–32 (10th Cir.2001)
   (noting that even when a party does not timely raise a Daubert objection, “the
   trial judge is assigned the task of insuring that an expert's testimony rests on a
   reliable foundation and is relevant, but Daubert does not mandate an inquiry
   questioning and challenging the scientific proffer absent a timely request by an
   objecting party”). Id.
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   the Government is positioning Mr. Buck as the pivotal witness for the

   prosecution. However, the Defense has no explanation as to (1) the exact

   opinions that Mr. Buck can offer; and (2) Mr. Buck's methodology (given that the

   supposed coordinates are, in the opinion of the Defense, in conflict with the

   fundamental facts in the case).

   10.   Given the failure of the Government to make proper disclosures under

   both Rule 16 and Rule 702, the Defense continues to seek suppression of those

   opinions under United States v. Nacchio, supra.



   DATED December 5, 2016



   Respectfully Submitted,




   s/Mark Cameron Johnson
   ______________________________________
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   ATTORNEY FOR DEFENDANT MATHEWS



                             CERTIFICATE OF SERVICE
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   I hereby certify that on December 5, 2016 I electronically served the foregoing
   motion electronically by filed the motion with the Clerk of the Court using the
   CM/ECF system, that will send notice of such filing to the parties in the case.




   s/ Mark C. Johnson
   ___________________________________
   Mark C. Johnson
